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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO. 23-60576-CIV-DIMITROULEAS
  ANDREW JOHNS,

         Plaintiff,

  vs.

  THE UNITED STATES OF AMERICA,

        Defendant.
  ___________________________________/


                                    ORDER TO SHOW CAUSE


         On August 28, 2023, this Court entered its Scheduling Order, which required the parties

  to submit appropriate dismissal papers within ten (10) calendar days of notifying the Court that

  the case has settled. See [DE 12]. On June 26, 2024, a Joint Notice of Settlement was filed,

  indicating that this case has settled. See [DE 30]. However, as of the date of this Order, a

  stipulation, notice, or motion for dismissal has not been filed with the Court.

           Accordingly, it is ORDERED AND ADJUDGED that no later than July 16, 2024, the

  parties shall either file the appropriate dismissal documents or show cause why they have not

  been filed.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 9th day of July, 2024.




  Copies furnished to:
  Counsel of Record
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